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AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)

 

 

 

 

Return
© ND. 0 * and time warrant executed: Copy of warrant and inventory left with:
e ,
Salat) 0 An

Inventory made in the presence of :

S.t9eees, §. Meh s

 

Inventory of the property taken and name of any person(s) seized:

Aglded Express Mail envelope which contained a small qreeting Caed ,
Which Contained A Small foam pAch. Ane Pach Contained a Gold MIL bajyie,
Which Dortained 4 dable lAWeR a plastic baggies. me baggie cantained

Ba of A BRIM, Pad ive Sy behance

 

David J. Bradley, Clerk OF Couré

 

Certification

 

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

ses tbh CW Ubewe

Executing officer’s signature

Silvia Torres, U.S. Postal Inspector
Printed name and title

 

 

 

 
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AO 93 (Rev. 11/13) Search and Seizure Warrant

 

UNITED STATES DISTRICT COURT

for the

Southern District of Texas

cH19- 1446M

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

United States Postal Service
Priority Mail Express Parcel
EJ096568436US

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

ws Ss eS eS we

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Southern District of Texas

 

(identify the person or describe the property to be searched and give its location):

Priority Mail Express Parcel EJO96568436US - Addressed to Heather Healy, 43 E. End Ave., Neptune City, NJ 07753-6208,
currently located at 4600 Aldine Bender Rd, Houston, TX 77315.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

Controlled substances, narcotics paraphernalia and/or drug proceeds

YOU ARE COMMANDED to execute this warrant on or before Wig / y 20 q (not to exceed 14 days)
@ in the daytime 6:00 a.m. to 10:00 p.m. at any time in the day or night | because good cause has been established.

 

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to

 

(United States Magistrate Judge)

O Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

O for days (not to exceed 30) 1 until, the facts justifying, the later specific date of

Date and time issued: Li gurort Sy OO/ 7 "te a (emma

Judge’s signature

 

City and state: Houston, TX Christina A. Bryan, U.S. Magistrate Judge

 

 

Printed name and title
